                 Case 1:17-cv-00173-BRW-CRH         Document 95-2       Filed 08/06/18     Page 1 of 19

                                              APPENDIX B
                                   OTHER ENTERPRISE FALSE STATEMENTS
     Date           Author               Description                     Statements
1.   5/30/2017      350.org              Website Publication: The War    “Corporations that poison our water and our bodies —
                    (Sabelo              on Water Protectors             and partner with private security and police forces to
                    Narasimhan)                                          attack peaceful protesters with pepper spray, water
                                                                         cannons and dogs — are the ones who are unleashing
                                                                         terror.”
2.   4/6/2017       Rainforest Action Website Publication: Energy        Accusing Energy Transfer of “egregious human rights
                    Network           Transfer: Which Banks              abuses . . . .”
                    (Alison Kirsch)   Continue to Support the
                                      Company Behind DAPL?
3.   2/17/2017      Rainforest Action Website Publication: URGENT:       Describing DAPL and ETE as “climate-killing
                    Network           Call Now. Resist Dakota            pipelines and companies that trample on Indigenous
                                      Access Pipeline                    and human rights.”
4.   2/13/2017      350.org, Food and Letter to CalPERS                  “In the process of construction to date, Energy
                    Water Watch                                          Transfer Partners has already damaged numerous
                                                                         sacred sites and plans to drill under the Missouri
                                                                         River, the sole drinking water source of the Standing
                                                                         Rock Sioux Tribe.”
5.   2/10/2017      Rainforest Action    Website Publication: RAN        “These 17 banks . . . have chosen to stand behind this
                    Network              Statement on Final Loan         abusive corporation . . . despite . . . months of savage
                    (Laurel Sutherlin)   Disbursements for Dakota        abuses by security forces against nonviolent
                                         Access Pipeline                 demonstrators, the destruction of sacred native
                                                                         American burial sites and documented threats to
                                                                         critical drinking water supplies for downstream
                                                                         communities.” (quoting Lindsey Allen, Rainforest
                                                                         Action Network)
6.   2/10/2017      Rainforest Action    Website Publication: RAN        “These 17 banks . . . have chosen to stand behind this
                    Network              Statement on Final Loan         abusive corporation . . . despite . . . months of savage
                    (Laurel Sutherlin)   Disbursements for Dakota        abuses by security forces against nonviolent
                                         Access Pipeline                 demonstrators, the destruction of sacred native
                                                                         American burial sites and documented threats to
                                                                         critical drinking water supplies for downstream


                                                           1
                  Case 1:17-cv-00173-BRW-CRH        Document 95-2        Filed 08/06/18      Page 2 of 19

                                              APPENDIX B
                                   OTHER ENTERPRISE FALSE STATEMENTS
                                                                          communities.” (quoting Lindsey Allen, Rainforest
                                                                          Action Network)
7.    2/10/2017      Laurel Sutherlin   Website Publication: RAN          DAPL poses “documented threats to critical drinking
                     (Rainforest        Statement on Final Loan           water supplies for downstream communities.”
                     Action Network)    Disbursements for Dakota          (quoting Lindsey Allen, Rainforest Action Network)
                                        Access Pipeline
8.    2/9/2017       Sierra Club        Website Publication:              “This blatant disregard for the rights of the Standing
                     (Catherine         Disgraceful: Trump's Actions      Rock Sioux -- they rerouted the pipeline away from
                     Collentine)        on Dakota Access and What's       Bismarck, a more affluent and predominantly white
                                        Next                              community, after concerns were raised about their
                                                                          water supply . . .”
9.    2/8/2017       350.org            New Yorker Publication:           “Despite the German shepherds and pepper spray let
                     (Bill McKibben)    Trump's Pipeline and America's    loose by E.T.P.’s security guards, . . . [protestors] kept
                                        Shame                             a nonviolent discipline that eventually persuaded the
                                                                          Obama Administration to agree to further study of the
                                                                          plan.”
10.   2/8/2017       350.org            Website Publication: Trump's      “[T]his pipeline had originally been set to carry its
                     (Bill McKibben)    Pipeline and America's Shame      freight of crude oil under the Missouri River, north of
                                                                          Bismarck. But the predominantly white citizens of
                                                                          that town objected, pointing out that a spill could foul
                                                                          their drinking water. So the pipeline's parent
                                                                          company, Energy Transfer Partners, remapped the
                                                                          crossing for just north of the Standing Rock Sioux
                                                                          Reservation. This piece of blatant environmental
                                                                          racism . . . .” (emphasis in original)
11.   2/7/2017       350.org            Tweet                             “Just a reminder that building Dakota pipeline is
                     (Bill McKibben)                                      carbon equivalent of building 30 coal-fired power
                                                                          plants http://priceofoil.org/2016/09/12/the-dakota-
                                                                          access-pipeline-will-lock-in-the-emissions-of-30-coal-
                                                                          plants/ … #nodapl”
12.   2/7/2017       Bold Iowa          Website Publication: Bold Iowa    DAPL will “foul our water and planet . . . .”
                     (Ed Fallon)        Responds to Army Corps of
                                        Engineers Unprecedented Order

                                                          2
                 Case 1:17-cv-00173-BRW-CRH        Document 95-2        Filed 08/06/18     Page 3 of 19

                                             APPENDIX B
                                  OTHER ENTERPRISE FALSE STATEMENTS
                                        Canceling Environmental
                                        Review of Dakota Access
                                        Pipeline
13.   2/3/2017      350.org             Tweet                            “Demand a full environmental review of the Dakota
                                                                         Access pipeline today: http://bit.ly/2jMlEpb #nodapl
                                                                         #StandWithStandingRock #DeFundDAPL …”
14.   2/2/2017      Rainforest Action   Website Publication: Over        “[C]ontinued DAPL construction and any spills pose
                    Network             500,000 People Tell Banks, No    significant and direct threats to sacred sites and water
                    (Tess Geyer)        DAPL!                            supplies for the Standing Rock Sioux, who live less
                                                                         than a mile downstream. The construction and spills
                                                                         would directly harm the Missouri River, which
                                                                         provides drinking water to millions of people.”
15.   2/2/2017      Rainforest Action   Website Publication: Over        DAPL is a “dirty fossil fuel project[ ] . . . .”
                    Network             500,000 People Tell Banks, No
                    (Tess Geyer)        DAPL!
16.   2/2/2017      Rainforest Action   Website Publication: Over        “[W]ater protectors and allies have been under siege
                    Network             500,000 People Tell Banks, No    while peacefully resisting the DAPL.”
                    (Tess Geyer)        DAPL!
17.   2/2/2017      Rainforest Action   Website Publication: Over        “The pipeline was approved without: environmental
                    Network             500,000 People Tell Banks, No    reviews, adequate assessment of cultural properties
                    (Tess Geyer)        DAPL!                            and sacred sites . . . .”
18.   2/1/2017      350.org             Tweet                            “Demand a full environmental review of the Dakota
                                                                         Access pipeline today: https://act.350.org/letter/dapl-
                                                                         comment … #nodapl #StandWithStandingRock
                                                                         #DeFundDAPL”
19.   2/1/2017      350.org             Website Publication:             “[T]he federal government would be abandoning their
                    (Sabelo             #NoDAPL: We Fight On             own rules and procedures by illegally forcing the
                    Narasimhan)                                          project through.”
20.   2/1/2017      350.org             Website Publication:             “The Standing Rock Sioux tribe, whose drinking
                    (Sabelo             #NoDAPL: We Fight On             water and sacred sites have been desecrated by this
                    Narasimhan)                                          pipeline . . . .”


                                                          3
                  Case 1:17-cv-00173-BRW-CRH         Document 95-2        Filed 08/06/18     Page 4 of 19

                                                APPENDIX B
                                     OTHER ENTERPRISE FALSE STATEMENTS
21.   Feb-17         Rainforest Action   Website Publication: URGENT: Describing DAPL and ETE as “climate-killing
                     Network             Call Now. Resist Dakota      pipelines and companies that trample on Indigenous
                                         Access Pipeline              and human rights.”
22.   1/26/2017      Rainforest Action   Website Publication: RAN          “Banks should reject Energy Transfer Equity’s . . .
                     Network             Statement on Continued            climate-wrecking business model . . . .”
                                         Investment in Energy Transfer
                                         Equity
23.   1/26/2017      Rainforest Action   Website Publication: RAN          DAPL “violates the rights of the Standing Rock Sioux
                     Network             Statement on Continued            to self-determination and Free, Prior and Informed
                                         Investment in Energy Transfer     Consent [] regarding decisions on their traditional
                                         Equity                            lands.”
24.   1/26/2017      Rainforest Action   Website Publication: RAN          Accusing Energy Transfer of “egregious human rights
                     Network             Statement on Continued            abuses at Standing Rock.”
                                         Investment in Energy Transfer
                                         Equity
25.   1/24/2017      Bold Iowa           Bold Iowa Responds to Trump       DAPL “want[s] to destroy our land, water and climate
                     (Mark Hefflinger)   Action on Dakota Access           . . . .”
                                         Pipeline
26.   1/24/2017      350.org             Website Publication: Breaking: DAPL “crosses sacred lands and key water supplies
                     (Duncan Meisel)     Keystone XL and Dakota         for tribal communities and never once received an
                                         Access                         environmental review.”
27.   12/28/2016     Rainforest Action   Tweet                          “We can’t let the destructive DAPL project continue.”
                     Network                                            #NoDAPL
28.   12/27/2016     Rainforest Action   Tweet                          “DAPL is a direct threat to drinking water for millions
                     Network                                            of people.” #DefundDAPL #NoDAPL
29.   12/8/2016      Bold Iowa           Website Publication: Week with “Join us as we stand united to stop the Dakota Access
                     (Ed Fallon)         Water Protectors at Standing   pipeline that is . . . threatening our land, water and
                                         Rock                           climate.”
30.   12/4/2016      Sierra Club         Website Publication:           DAPL “would cut through . . . tribal lands like the
                     (Katy Reilly)       BREAKING: Dakota Access        Standing Rock Sioux Tribe's ancestral lands.”
                                         Pipeline Construction Halted!


                                                            4
                  Case 1:17-cv-00173-BRW-CRH         Document 95-2        Filed 08/06/18     Page 5 of 19

                                                APPENDIX B
                                     OTHER ENTERPRISE FALSE STATEMENTS
31.   12/4/2016      Sierra Club         Website Publication:              “History has taught us that it's never a question
                     (Katy Reilly)       BREAKING: Dakota Access           whether a pipeline will spill, rather a question of
                                         Pipeline Construction Halted!     when, and a comprehensive environmental review will
                                                                           show that this dirty and dangerous project will
                                                                           threaten the safety of every community it cuts through.
                                                                           . . . [DAPL will] cross under the Missouri River just
                                                                           upstream of the Tribe's drinking water supply, where a
                                                                           spill would mean a serious threat to the Tribe's health,
                                                                           culture, and way of life.”
32.   12/4/2016      Bold Alliance       Website Publication: Obama        DAPL is “threatening our land, water and climate.”
                     (Mark Hefflinger)   Administration Denies Final
                                         Dakota Access Easement
                                         Permit; Army Corps Orders
                                         Review of Route, Full
                                         Environmental Impact
                                         Statement
33.   12/4/2016      350.org             Website Publication: U.S. Army    “[E]nvironmental racism implicit in this misbegotten
                     (Bill McKibben)     Corps Blocks Final Permit         pipeline.”
                                         Needed for Dakota Access
                                         Pipeline
34.   12/4/2016      350.org             Website Publication: The          “When native American protesters sat down in front
                     (Bill McKibben)     victory at Standing Rock could    of bulldozers to try and protect ancestral graves, they
                                         mark a turning point              were met with attack dogs – the pictures looked like
                                                                           Birmingham, Alabama, circa 1963.”
35.   12/4/2016      Bold Alliance       Website Publication: Obama        “[T]housands of Water Protectors have for months
                     (Mark Hefflinger)   Administration Denies Final       endured violent attacks -- pepper spray, rubber bullets,
                                         Dakota Access Easement            attack dogs, water cannons, LRAD sound cannons,
                                         Permit; Army Corps Orders         concussion grenades -- and inhumane treatment at the
                                         Review of Route, Full             hands of law enforcement and private security [for
                                         Environmental Impact              Energy Transfer].”
                                         Statement



                                                            5
                  Case 1:17-cv-00173-BRW-CRH         Document 95-2       Filed 08/06/18     Page 6 of 19

                                                APPENDIX B
                                     OTHER ENTERPRISE FALSE STATEMENTS
36.   12/4/2016      Sierra Club         Website Publication:             Peaceful protesters’ “prayers and songs were
                     (Katy Reilly)       BREAKING: Dakota Access          increasingly met by a militarized police force using
                                         Pipeline Construction Halted!    dogs, water cannons, rubber bullets, pepper spray,
                                                                          concussion grenades, and other tactics designed to
                                                                          intimidate, antagonize and invoke fear.”
37.   12/3/2016      Rainforest Action   Tweet                            “The water protectors are being attacked in the name
                     Network                                              of profit.” #NoDAPL
38.   12/1/2016      Bold Alliance       Tweet                            “Dakota Access CEO flat out lying
                     (Jane Kleeb)                                         http://bismarcktribune.com/news/state-and-
                                                                          regional/audio-tribe-objected-to-pipeline-nearly-years-
                                                                          before-lawsuit/article_51f94b8b-1284-5da9-92ec-
                                                                          7638347fe066.htm … Chairman with Standing Rock
                                                                          and other Sioux Nations objected from day 1
                                                                          #NoDAPL”
39.   11/30/2016     Bold Iowa           Website Publication: Week at     “Behind the voice [of the DAPL representative] is
                     (Ed Fallon)         Standing Rock Day 4: Dakota      corporate and police power prepared to defend Big
                                         Access’ Smiling Faces            Oil’s interests with water canons [sic], long range
                                                                          acoustic devices (LRADs), pepper spray and tear gas.”
40.   11/28/2016     Bold Alliance       Tweet                            “If you have to build a pipe with razor wire, violence,
                     (Jane Kleeb)                                         Executive Orders maybe it's not worth building?
                                                                          #NoDAPL”
41.   11/26/2016     Bold Alliance       Tweet                            “If you have to build your pipeline using razor wire,
                     (Jane Kleeb)                                         guns, tear gas and extreme violence maybe you are
                                                                          building the wrong America? #NODAPL”
42.   11/20/2016     Bold Iowa           Website Publication: Water       “Water protectors’ efforts to clear the road and
                     (Mark Hefflinger)   Cannons Fired at Water           improve access to the camp for emergency services
                                         Protectors in Freezing           were met with tear gas, an LRAD (Long Range
                                         Temperatures, Hundreds           Acoustic Device), stinger grenades, rubber bullets, and
                                         Injured                          indiscriminate use of a water cannon with an air
                                                                          temperature of 26 degrees Fahrenheit.”




                                                            6
               Case 1:17-cv-00173-BRW-CRH          Document 95-2        Filed 08/06/18     Page 7 of 19

                                              APPENDIX B
                                   OTHER ENTERPRISE FALSE STATEMENTS
43.   11/20/2016   Bold Alliance       Tweet                             “ND and Big Oil are tear gassing and putting water
                   (Jane Kleeb)                                          hoses on #NoDAPL folks right now in 20 degree
                                                                         weather and at night
                                                                         https://www.facebook.com/myron.dewey1?fref=ts …”
44.   11/16/2016   Sierra Club         Website Publication: Tens of      Peaceful “Water Protectors were met with
                                       Thousands                         unconscionable violence . . . . Private and local
                                       #StandWithStandingRock            security have increasingly resorted to dehumanizing
                                                                         and aggressive tactics like using dogs, pepper spray,
                                                                         low-flying helicopters, sound cannons, rubber bullets,
                                                                         roadblocks, and other tactics designed to intimidate,
                                                                         antagonize and invoke fear. These militarized actions
                                                                         are yet another sad moment in our nation's long
                                                                         history of using force against Native peoples.”
45.   11/16/2016   Sierra Club         Website Publication: Tens of      DAPL “would also cross under the Missouri River just
                                       Thousands                         upstream of the Tribe's drinking water supply, where a
                                       #StandWithStandingRock            spill would mean a serious threat to the Tribe's health,
                                                                         culture, and way of life.”
46.   11/16/2016   Sierra Club         Website Publication: Tens of      DAPL “would carry 450,000 barrels of fracked oil
                                       Thousands                         every day through the ancestral and treaty lands of the
                                       #StandWithStandingRock            Standing Rock Sioux Tribe.”
47.   11/14/2016   350.org             Website Publication: November     “Bulldozers are approaching Standing Rock as I
                   (Sara Shor)         15th: #NoDAPL Day of Action       write.”
48.   11/14/2016   Bold Alliance       Website Publication: Army         DAPL poses “risks” to “the land and water,” and “no
                   (Mark Hefflinger)   Corps Withholds Final Dakota      amount of safety conditions make an unnecessary
                                       Access Pipeline Permit, Will      pipeline acceptable.” (quoting Jane Kleeb, Bold
                                       Consult Further With Standing     Alliance)
                                       Rock Tribe
49.   11/13/2016   350.org             Website Publication: Bill         “The original inhabitants of this continent have
                   (Bill McKibben)     McKibben: What's next?            been pepper-sprayed and shot with rubber bullets,
                                       Solidarity with Standing Rock,    maced and attacked by guard dogs, all for peacefully
                                       Nov. 15                           standing up for their sovereign rights, and for the
                                                                         world around us.”


                                                          7
                  Case 1:17-cv-00173-BRW-CRH        Document 95-2        Filed 08/06/18      Page 8 of 19

                                              APPENDIX B
                                   OTHER ENTERPRISE FALSE STATEMENTS
50.   11/12/2016     350NYC              Website Publication: NYC Call    DAPL “would pass directly through the sacred lands
                                         To Action: We Stand With         of the Standing Rock Sioux Tribe . . . .”
                                         #StandingRock
51.   11/12/2016     350NYC              Website Publication: NYC Call    “Over the past week, thousands of peaceful and
                                         To Action: We Stand With         prayerful water protectors in North Dakota have been
                                         #StandingRock                    subjected to further dehumanizing attacks, including
                                                                          heavily armed, militarized police in riot gear and
                                                                          armored vehicles using rubber bullets at point blank
                                                                          range, pepper spray, concussion grenades, tasers, and
                                                                          sound cannons. Horses have been shot, and just in the
                                                                          past week, 141 protectors have been arrested. Many
                                                                          have been strip searched, held in dog kennels, and
                                                                          marked with numbers on their bodies. For the most
                                                                          part, the mainstream media has been silent as these
                                                                          atrocities have been perpetrated against American
                                                                          citizens on American soil.”
52.   11/12/2016     350NYC              Website Publication: NYC Call    “The pipeline is a direct threat to the life, rights, and
                                         To Action: We Stand With         water of the Standing Rock Sioux . . . .”
                                         #StandingRock
53.   11/7/2016      Rainforest Action   Website Publication: RAN         DAPL “poses a devastating public health threat to the
                     Network             Statement on Citigroup’s         Tribe’s drinking water.”
                                         Leading Role in Financing
                                         Dakota Access Pipeline
54.   11/7/2016      Rainforest Action   Website Publication: RAN         DAPL “has violated the sovereignty of the Standing
                     Network             Statement on Citigroup’s         Rock Sioux and their right to determine the future of
                                         Leading Role in Financing        their lands . . . .”
                                         Dakota Access Pipeline
55.   11/7/2016      Rainforest Action   Website Publication: RAN         “DAPL private security guards us[ed] pepper spray,
                     Network             Statement on Citigroup’s         rubber bullets and attack dogs on elders and children
                                         Leading Role in Financing        . . . .”
                                         Dakota Access Pipeline



                                                           8
                  Case 1:17-cv-00173-BRW-CRH        Document 95-2         Filed 08/06/18     Page 9 of 19

                                              APPENDIX B
                                   OTHER ENTERPRISE FALSE STATEMENTS
56.   11/6/2016      350.org           Website Publication: There Is       “And the company that built [DAPL] fast-tracked their
                     (Bill McKibben)   Still Time to Stop the Injustice    bulldozing operation the day after the tribe identified
                                       at Standing Rock                    for a federal court the sacred sites and graves along
                                                                           the pipeline route; it was as if the Sioux had handed
                                                                           over a treasure map.”
57.   11/6/2016      350.org           Website Publication: There Is       DAPL is “the perfect example of America's casual
                     (Bill McKibben)   Still Time to Stop the Injustice    racism and endless money-worshipping. The pipeline
                                       at Standing Rock                    was, for instance, rerouted away from Bismarck when
                                                                           residents of the capital worried it might pollute that
                                                                           city's water.”
58.   11/6/2016      350.org           Website Publication: There Is       Describing the NEPA review for DAPL as a “farcical,
                     (Bill McKibben)   Still Time to Stop the Injustice    fast-tracked 'environmental assessment’ . . . .”
                                       at Standing Rock
59.   11/4/2016      Sierra Club       Website Publication: Will           “I am filled with shame and outrage as I watch the
                     (Dan Chu)         Justice Ever Be Served?             unwarranted brutality North Dakota state police and
                                                                           armed security guards are targeting at the peaceful
                                                                           Water Protectors opposing the Dakota Access oil
                                                                           pipeline. Spraying unarmed men and women in the
                                                                           face with pepper spray, beating them with batons and
                                                                           arresting over 140 people for trespassing are extreme
                                                                           measures taken with the impunity of those who put the
                                                                           profits of oil and gas over the fundamental rights of
                                                                           their fellow human beings.”
60.   11/4/2016      350 Maine.org     Website Publication:                “The desire to protect against such disturbance [of
                     (Lee Chisholm)    #NoDAPL: KEEP IT IN THE             sacred burial sites] was the cause this September of an
                                       GROUND: Reflections on the          ugly confrontation between indigenous people and
                                       Call of Standing Rock at this       pipeline company security guards. The latter came
                                       Moment in History                   with mace and snarling attack dogs. The former had
                                                                           no weapons.”
61.   11/4/2016      350.org           Website Publication:                “The Corps fast-tracked everything . . . .”
                     (Lee Chisholm)    #NoDAPL: KEEP IT IN THE
                                       GROUND: Reflections on the


                                                           9
              Case 1:17-cv-00173-BRW-CRH         Document 95-2       Filed 08/06/18    Page 10 of 19

                                             APPENDIX B
                                  OTHER ENTERPRISE FALSE STATEMENTS
                                     Call of Standing Rock at this
                                     Moment in History


62.   11/4/2016   350.org            Website Publication:             “[T]he workers and heavy machinery operators
                  (Lee Chisholm)     #NoDAPL: KEEP IT IN THE          burying the pipe disturb sacred burial sites and other
                                     GROUND: Reflections on the       areas of cultural and historical significance to the
                                     Call of Standing Rock at this    tribe.”
                                     Moment in History
63.   11/4/2016   350.org            Website Publication:             DAPL poses a “threat to fresh water. . . . Pipelines
                  (Lee Chisholm)     #NoDAPL: KEEP IT IN THE          leak. . . . No matter how safely the pipeline company
                                     GROUND: Reflections on the       says it intends to build this thing, the danger of it
                                     Call of Standing Rock at this    leaking was the primary reason it was earlier re-
                                     Moment in History                routed, after citizen outcry, from a river-crossing
                                                                      upstream of the state's second largest population
                                                                      center, Bismarck, N.D.”
64.   11/3/2016   350.org            Tweet                            “More brutal attacks on peaceful water protectors as
                                                                      they defend sacred sites. @POTUS: Send DOJ
                                                                      observers now http://nbcnews.to/2fis1Rg #NoDAPL “
65.   11/2/2016   Sierra Club        Website Publication: Tell Big    “The Dakota Access pipeline would carry hundreds of
                                     Banks to Divest From Dakota      thousands of barrels of some of the dirtiest oil on the
                                     Access Pipeline                  planet across four states, putting public health and
                                                                      welfare, critical water supplies, cultural resources and
                                                                      ancestral burial grounds in danger.”
66.   11/2/2016   Sierra Club        Website Publication: Tell Big    DAPL “violates sacred land rights of the Standing
                                     Banks to Divest From Dakota      Rock Sioux.”
                                     Access Pipeline
67.   11/2/2016   Bold Alliance      Tweet                            “Brutal force happening now at Standing Rock
                  (Jane Kleeb)                                        #NoDAPL Pics by @joshfoxfilm, ABC pundit
                                                                      @erinschrode hit with rubber bullets
                                                                      @Gstephanopoulos”



                                                        10
              Case 1:17-cv-00173-BRW-CRH         Document 95-2        Filed 08/06/18    Page 11 of 19

                                              APPENDIX B
                                   OTHER ENTERPRISE FALSE STATEMENTS
68.   11/2/2016    350.org            Tweet                            “Pres. Obama @POTUS ‘shouldn't sit back while
                                                                       people are facing violent repression’ #NoDAPL
                                                                       http://reut.rs/2efcQ8x”
69.   11/2/2016    Sierra Club        Website Publication: Tell Big    "For months, the Standing Rock Sioux have
                                      Banks to Divest From Dakota      peacefully gathered to stop the pipeline. In response,
                                      Access Pipeline                  they've been pelted with rubber bullets and water
                                                                       cannons."
70.   11/1/2016    Sierra Club        Website Publication: Tell Big    DAPL is constructed “through sacred Sioux tribal
                                      Banks to Divest From Dakota      lands.”
                                      Access Pipeline
71.   10/30/2016   Bold Alliance      Tweet                            “Yes, Dakota Access pipeline has destroyed sacred
                   (Jane Kleeb)                                        sites. You can come up to ND and we would be happy
                                                                       to show you #NODAPL “
72.   10/30/2016   350 Action         Tweet                            “The #NoDAPL fight is an egregious example of the
                                                                       nexus between racism and climate injustice.
                                                                       #StandWithStandingRock”
73.   10/29/2016   350.org            Tweet                            “NYTimes reminds us that Dakota pipeline was
                   (Bill McKibben)                                     originally going to go by Bismarck. But, white people.
                                                                       #NoDAPL http://nyti.ms/2dUFMTt”
74.   10/28/2016   350.org            Website Publication: Why         DAPL “is precisely the kind of project that climate
                   (Bill McKibben)    Dakota Is the New Keystone       science tells us can no longer be tolerated.”
75.   10/28/2016   350.org            Website Publication: Why         “Originally, the pipeline was supposed to cross the
                   (Bill McKibben)    Dakota Is the New Keystone       Missouri just north of Bismarck, until people pointed
                                                                       out that a leak there would threaten the drinking water
                                                                       supply for North Dakota's second biggest city. The
                                                                       solution, in keeping with American history, was
                                                                       obvious: make the crossing instead just above the
                                                                       Standing Rock reservation, where the poverty rate is
                                                                       nearly three times the national average.”
76.   10/28/2016   350.org            Website Publication: Why         “Construction has already desecrated indigenous
                   (Bill McKibben)    Dakota Is the New Keystone       burial sites . . . .”



                                                        11
              Case 1:17-cv-00173-BRW-CRH           Document 95-2         Filed 08/06/18   Page 12 of 19

                                            APPENDIX B
                                 OTHER ENTERPRISE FALSE STATEMENTS
77.   10/28/2016   Bold Iowa           Website Publication: Police     “The 1851 Treaty Camp was set up this past Sunday
                   (Mark Hefflinger)   from 5 States Escalate          directly in the path of the pipeline . . . this camp, a
                                       Violence, Shoot Horses to Clear reclamation of unceded Dakota territory affirmed as
                                       1851 Treaty Camp                part of the Standing Rock Reservation in the Ft.
                                                                       Laramie Treaty of 1851 . . . .”
78.   10/27/2016   Sierra Club         Website Publication: Dakota     “This pipeline is a direct threat to First Nations' water
                                       Access Pipeline Water           and heritage, and must be rejected. The Standing
                                       Protectors Being Forcibly       Rock Sioux's home and history, like all of ours,
                                       Removed by Militarized Police deserve to be protected . . . .”
79.   10/3/2016    350.org             Website Publication: The View “Despite what you see in the news portraying violent
                   (Emily J.)          from Standing Rock              protesters, that couldn't be further from the truth.”
80.   9/29/2016    Sierra Club         Tweet                           “It's heartbreaking to see the unwarranted military-
                                                                       style response to a peaceful #NoDAPL prayer camp in
                                                                       North Dakota”
81.   9/22/2016    350.org             Website Publication: A Strategy “[G]uard dogs [ ] attacked Native Americans as they
                   (Bill McKibben)     to Stop the Funding Behind the tried to keep bulldozers from mowing down ancestral
                                       Dakota Access Pipeline          grave sites. . . . [P]epper spray that the company used
                                                                       to clear the way for its crews as they cleared the right
                                                                       of way straight to the Missouri River.”
82.   9/22/2016    350.org             Website Publication: A Strategy DAPL “threatens precious water . . . .”
                   (Bill McKibben)     to Stop the Funding Behind the
                                       Dakota Access Pipeline
83.   9/22/2016    350.org             Website Publication: A Strategy “It's unlikely that Citibank customers support
                   (Bill McKibben)     to Stop the Funding Behind the poisoning indigenous peoples’ water, desecrating
                                       Dakota Access Pipeline          sacred burial sites, or contributing to global climate
                                                                       change.” (quoting Gloria Fallon, Rising Tide Chicago)
84.   9/22/2016    350.org             Website Publication: A Strategy DAPL is a “$3.7 billion infrastructure project that
                   (Bill McKibben)     to Stop the Funding Behind the threatens precious water and myriad sacred sites, not
                                       Dakota Access Pipeline          to mention the planet’s unraveling climate. . . . [A]t
                                                                       this point anyone who finances any fossil fuel
                                                                       infrastructure is attempting to make money on the
                                                                       guaranteed destruction of the planet.” (emphasis in
                                                                       original).

                                                          12
              Case 1:17-cv-00173-BRW-CRH        Document 95-2       Filed 08/06/18    Page 13 of 19

                                             APPENDIX B
                                  OTHER ENTERPRISE FALSE STATEMENTS
85.   9/22/2016   350 Action         Tweet                           “Climate change is already here and building more
                                                                     pipelines will only worsen it. #NoDAPL”
86.   9/21/2016   350 Action         Tweet                           “Dakota Access destroys sacred burial ground. It must
                                                                     be stopped. #NoDAPL
                                                                     http://thenaturalhistorymuseum.org/archaeologists-
                                                                     and-museums-respond-to-destruction-of-standing-
                                                                     rock-sioux-burial-grounds/ …”
87.   9/19/2016   350.org            Website Publication: Despite    Bank of America is “playing a key role in financing
                  (Jenn Marienau)    climate commitment, Bank of     dangerous fossil fuel infrastructure like the Dakota
                                     America still funds Dakota      Access Pipeline.”
                                     Access Pipeline
88.   9/16/2016   Bold Alliance      Website Publication: Dakota     “[B]uilding the pipeline would also be inconsistent
                  (Jane Kleeb)       Access Pipeline Opposition      with the United States' climate goals. . . . [T]he
                                     Continues To Grow               pipeline would lock in greenhouse gas emissions in an
                                                                     amount equivalent to the emissions of 30 coal plants.”
89.   9/16/2016   350.org            Tweet                           DAPL “is another giant climate bomb.”
                  (Bill McKibben)
90.   9/16/2016   Bold Alliance      Website Publication: Dakota     “[T]he day after the discovery of these sacred sites,
                  (Jane Kleeb)       Access Pipeline Opposition      the pipeline company intentionally bulldozed the sites
                                     Continues To Grow               before they could be inspected, as well as ramping up
                                                                     their violent confrontations of peaceful protesters.”
91.   9/16/2016   Bold Alliance      Website Publication: Dakota     “Contrary to inaccurate claims by local police and
                  (Jane Kleeb)       Access Pipeline Opposition      media, the camp has been entirely peaceful and
                                     Continues To Grow               nonviolent.”
92.   9/16/2016   Bold Alliance      Website Publication: Dakota     “[T]he day after the discovery of these sacred sites,
                  (Jane Kleeb)       Access Pipeline Opposition      the pipeline company intentionally bulldozed the sites
                                     Continues To Grow               before they could be inspected, as well as ramping up
                                                                     their violent confrontations of peaceful protesters.”
93.   9/16/2016   Bold Alliance      Website Publication: Dakota     DAPL “pos[es] a devastating public health threat to
                  (Jane Kleeb)       Access Pipeline Opposition      the [SRST]'s drinking water in the case of a spill.”
                                     Continues To Grow



                                                       13
               Case 1:17-cv-00173-BRW-CRH         Document 95-2         Filed 08/06/18     Page 14 of 19

                                               APPENDIX B
                                    OTHER ENTERPRISE FALSE STATEMENTS
94.    9/14/2016   Sierra Club         Website Publication: A Light      “The U.S. government attempted to fast-track a
                   (Michael Brune)     Shines in the Dakotas             dangerous pipeline without properly and respectfully
                                                                         consulting the sovereign tribal nation whose ancestral
                                                                         lands and water it threatens. . . . It's inconceivable that
                                                                         the project was approved without a thorough and
                                                                         meaningful consultation with the first inhabitants of
                                                                         this land.”
95.    9/13/2016   Sierra Club         Website Publication: A Tribal     “[B]ulldozers responsible for uprooting and destroying
                   (Timothy Hill)      Activist War Rages On: The        the Standing Rock Sioux reservation . . . .”
                                       Dakota Access Pipeline and
                                       The Fight for Justice
96.    9/13/2016   Sierra Club         Website Publication: Thousands    DAPL “would threaten [SRST's] water, their sacred
                                       Nationwide Show Solidarity        sites, and their future.”
                                       with the Standing Rock Sioux
                                       and #NoDAPL
97.    9/13/2016   Sierra Club         Website Publication: Thousands    “Energy Transfer Partners -- the company behind the
                                       Nationwide Show Solidarity        pipeline -- rushed to destroy sacred sites while
                                       with the Standing Rock Sioux      indigenous groups and their allies sought to halt the
                                       and #NoDAPL                       construction in courts.”
98.    9/13/2016   Sierra Club         Website Publication: A Tribal     “[C]onstruction crews working on the pipeline
                   (Timothy Hill)      Activist War Rages On: The        destroyed and demolished the Standing Rock Sioux's
                                       Dakota Access Pipeline and        camp, bringing with them private security mercenaries
                                       The Fight for Justice             and their guard dogs, who attacked many of the
                                                                         activists and tribal members present.”
99.    9/13/2016   Sierra Club         Website Publication: A Tribal     Permits for DAPL were subject “fast-track approval . .
                   (Timothy Hill)      Activist War Rages On: The        . [which] seems to be the oil companies’ perfect skirt
                                       Dakota Access Pipeline and        around the fervent backlash from opposing parties . . .
                                       The Fight for Justice             .”
100.   9/13/2016   Sierra Club         Website Publication: A Tribal     The Corps demonstrated “flagrant disregard for both
                   (Timothy Hill)      Activist War Rages On: The        tribal and environmental rights, as well as a lack of
                                       Dakota Access Pipeline and        compliance with federal consultation policies.”
                                       The Fight for Justice


                                                         14
                  Case 1:17-cv-00173-BRW-CRH         Document 95-2          Filed 08/06/18    Page 15 of 19

                                               APPENDIX B
                                    OTHER ENTERPRISE FALSE STATEMENTS
101.   9/13/2016      Sierra Club         Website Publication: Thousands     The Corps “rushed to approve this dangerous pipeline
                                          Nationwide Show Solidarity         using a process that deliberately avoids adequate
                                          with the Standing Rock Sioux       environmental reviews or consultation with the tribe . .
                                          and #NoDAPL                        .”
102.   9/9/2016       Sierra Club         Website Publication: Obama         “While construction will be halted on a portion of the
                      (Jonathan           Administration Sides With the      project, the U.S. Army Corps of Engineers should
                      Berman)             Standing Rock Sioux                finish the job and reject this dirty and dangerous
                                                                             pipeline once and for all. It should never have taken
                                                                             legal action by the Tribe to require that this or any
                                                                             pipeline receive a common sense, thorough
                                                                             environmental and climate review of the effects they
                                                                             pose, but we are thankful that the Administration acted
                                                                             swiftly after the deeply flawed decision was made.”
103.   9/9/2016       Bold Iowa (Mark     Website Publication: Pipeline      “[P]roper consultation was never done with Tribes . . .
                      Hefflinger)         Fighters React to Obama            .”
                                          Administration’s Call for
                                          Construction Halt on Dakota
                                          Access Pipeline at Key Areas
                                          Near Sacred Stone Camp That
                                          Threaten Water, Sacred Sites
104.   9/9/2016       Bold Nebraska       Website Publication:               “Worse, the pipeline would cross under the Missouri
                      (Mark Hefflinger)   Nebraskans to Join Nationwide      River, threatening drinking water downstream if a
                                          Rally in Solidarity with Tribal    catastrophic oil spill occurs.”
                                          Nations, Farmers on Tuesday to
                                          Protect Our Water from the
                                          Dakota Access Pipeline
105.   9/8/2016       350.org             Tweet                              “Climate justice and clean water go hand-in-hand.
                                                                             Time for our leaders to side with native protectors.
                                                                             #NoDAPL”
106.   9/8/2016       350.org             Tweet                              “#NoDAPL is a leadership test @HillaryClinton
                      (Bill McKibben)                                        should not duck. When they sic dogs on people, it's
                                                                             time to speak out.”


                                                            15
                  Case 1:17-cv-00173-BRW-CRH          Document 95-2       Filed 08/06/18     Page 16 of 19

                                               APPENDIX B
                                    OTHER ENTERPRISE FALSE STATEMENTS
107.   9/7/2016       350.org             Website Publication: Bill        “Worse yet, digging the pipeline corridor requires
                      (Bill McKibben)     McKibben: Hillary Clinton        destroying Sioux burial grounds and sacred sites. In
                                          needs to take a stand on the     fact, last week, hours after the tribe had supplied a
                                          Dakota Access Pipeline           federal court with a list of those sites, the company
                                                                           building the pipeline brought in bulldozers and did its
                                                                           best to obliterate them. (Some speculate that it used
                                                                           the court list as a roadmap.).”
108.   9/7/2016       Bold Nebraska       Website Publication: Tribal      “[T]he construction of the Dakota Access pipeline[ ] .
                      (Mark Hefflinger)   Nations, Pipeline Fighters to    . . could poison drinking water . . . .”
                                          Rally at Omaha Army Corps
                                          HQ Thursday to Tell Pres.
                                          Obama to Halt Construction of
                                          the Dakota Access Pipeline
109.   9/7/2016       Bold Nebraska       Website Publication: Tribal      DAPL “threatens our land, water and climate. . . .”
                      (Mark Hefflinger)   Nations, Pipeline Fighters to
                                          Rally at Omaha Army Corps
                                          HQ Thursday to Tell Pres.
                                          Obama to Halt Construction of
                                          the Dakota Access Pipeline
110.   9/7/2016       Bold Nebraska       Website Publication: Tribal      “[T]he construction of the Dakota Access pipeline[ ]
                      (Mark Hefflinger)   Nations, Pipeline Fighters to    has already desecrated burial sites . . . .”
                                          Rally at Omaha Army Corps
                                          HQ Thursday to Tell Pres.
                                          Obama to Halt Construction of
                                          the Dakota Access Pipeline
111.   9/6/2016       350.org             Tweet                            “As bulldozers destroy burial sites, oil industry bullies
                                                                           try to provoke violence from native leaders saying
                                                                           #NoDAPL”
112.   9/6/2016       350.org             Tweet                            “Handy list of the banks paying for guard dogs to bite
                      (Bill McKibben)                                      Native protectors (and build polluting pipeline)
                                                                           http://www.foodandwaterwatch.org/news/who%27s-
                                                                           banking-dakota-access-pipeline … #NoDAPL”


                                                             16
                  Case 1:17-cv-00173-BRW-CRH         Document 95-2         Filed 08/06/18    Page 17 of 19

                                                 APPENDIX B
                                      OTHER ENTERPRISE FALSE STATEMENTS
113.   9/6/2016       350.org             Tweet                             “You know they're up to no good when they call out
                      (Bill McKibben)                                       the dogs. Stop the Dakota pipeline #NoDAPL”
114.   9/6/2016       350.org             Tweet                             “Fossil fuel companies sic dogs on peaceful
                                                                            protestors. The choice is clear: #noDAPL.
                                                                            #StandWithStandingRock”
115.   9/5/2016       350.org             Tweet                             “Using dogs on demonstrators says something about
                      (Bill McKibben)                                       your system. Something not good #NoDAPL”
116.   9/4/2016       350.org             Tweet                             “Peaceful protestors defending their land vs fossil fuel
                                                                            execs deploying dogs? Time for @POTUS to take a
                                                                            side #NoDAPL”
117.   9/4/2016       Rainforest Action   Tweet                             “Standing with those taking a stand: Native American
                      Network                                               Protesters Attacked with Dogs and Pepper Spray
                                                                            http://www.democracynow.org/2016/9/4/dakota_acces
                                                                            s_pipeline_company_attacks_native … via
                                                                            #NoDAPL”
118.   9/3/2016       Bold Alliance       Tweet                             “A Marine Corps veteran looks on in disbelief at
                      (Jane Kleeb)                                          #NoDAPL destroying sacred sites
                                                                            https://flic.kr/p/LJ9g4D tweet @potus ask him to step
                                                                            in”
119.   9/1/2016       Bold Iowa (Mark     Website Publication: 30 Iowans    “With Dakota Access moving aggressively to build
                      Hefflinger)         Arrested in Peaceful              the pipeline while ignoring . . . the concerns of the
                                          Demonstration Against Dakota      Standing Rock Sioux . . . .” (quoting Ed Fallon, Bold
                                          Access Pipeline and Risks to      Iowa)
                                          Water
120.   9/1/2016       Bold Iowa (Mark     Website Publication: 30 Iowans    “Dakota Access ‘Bakken’ oil pipeline . . . threatens
                      Hefflinger)         Arrested in Peaceful              our land, water and climate.”
                                          Demonstration Against Dakota
                                          Access Pipeline and Risks to
                                          Water




                                                            17
                  Case 1:17-cv-00173-BRW-CRH         Document 95-2         Filed 08/06/18    Page 18 of 19

                                                 APPENDIX B
                                      OTHER ENTERPRISE FALSE STATEMENTS
121.   9/1/2016       Michael Brune       Website Publication: Time to      “[I]t has never been a question of whether a pipeline
                      (Sierra Club)       Stop a Bad Idea                   will spill but only of when the next disaster will
                                                                            happen. . . . A spill from the Dakota Access could
                                                                            contaminate the Missouri River and Lake Oahe, which
                                                                            are the water sources for the Standing Rock Sioux
                                                                            Tribe.” (emphasis in original).
122.   9/1/2016       Michael Brune       Website Publication: Time to      “[T]he Army Corps of Engineers granted the general
                      (Sierra Club)       Stop a Bad Idea                   permit that allowed construction to begin (using a
                                                                            little-known loophole called Nationwide Permit 12
                                                                            that allows the process to be fast-tracked without
                                                                            adequate environmental review, tribal consultation, or
                                                                            public input).”
123.   8/30/2016      Rainforest Action   Website Publication: Obama:       “[T]his fight is critical for protecting communities
                      Network             Take a Stand Against Dakota       from fossil fuel infrastructure and in stemming climate
                      (Virali Gokaldas)   Access Pipeline                   change.”
124.   8/30/2016      Rainforest Action   Website Publication: Obama:       DAPL “poses a devastating public health threat to the
                      Network             Take a Stand Against Dakota       Tribe's drinking water.”
                      (Virali Gokaldas)   Access Pipeline
125.   8/25/2016      350.org             Tweet                             “The brave and resilient Sioux people oppose the
                                                                            pipeline threatening their land.”
126.   8/24/2016      350.org             Website Publication: Court        “Today, in the latest in the fight led by the Standing
                                          delays ruling in Standing Rock    Rock Sioux Tribe to stop the Dakota Access Pipeline
                                          Sioux Tribe case to stop          from wreaking havoc on nearby sacred lands and
                                          construction of Dakota Access     contaminating water sources . . . .”
                                          Pipeline
127.   8/22/2016      350.org             Website Publication: After 525    “[O]n the Standing Rock Sioux Reservation straddling
                      (Bill McKibben)     Years, It's Time to Actually      the border between North Dakota and South Dakota.
                                          Listen to Native Americans        There, tribal members have been, well, standing like a
                                                                            rock in the way of the planned Dakota Access Pipeline
                                                                            . . . .”



                                                            18
                 Case 1:17-cv-00173-BRW-CRH      Document 95-2       Filed 08/06/18     Page 19 of 19

                                              APPENDIX B
                                   OTHER ENTERPRISE FALSE STATEMENTS
128.   Undated       350.org          Website Publication: President  DAPL is “a threat to the sacred land and water of
                                      Obama: Stop the Dakota Access native communities and a disaster for the climate.”
                                      Pipeline                        DAPL would “cause irreparable harm to sacred land
                                                                      and water as well as the climate.”
129.   Undated       Sierra Club      Take action: Tell Wells Fargo   “The Dakota Access Pipeline crosses the Missouri
                                      to divest from the Keystone XL river along sacred Tribal grounds, less than a mile
                                      and Dakota Access pipelines     from the Standing Rock Sioux Reservation, where a
                                                                      spill would pose a serious threat to the Tribe's sole
                                                                      source of drinking water.”
130.   Undated       Sierra Club      Breaking: Army Corps issues     DAPL “threaten[s] the safety and sovereignty of the
                                      final approval for Dakota       Standing Rock Sioux.”
                                      Access Pipeline -- take action!




                                                        19
